    Case 4:07-cr-00045-LGW-CLR Document 57 Filed 04/16/07 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT

               FOR THE SOUTHERN DISTRICT OF GEORGIA

                             SAVANNAH DIVISION




THE UNITED STATES OF AMERICA,

               Plaintiff ,

             v.         )     CR407-45


RANDY A . MARTIN an d
SCOTT PRICE,

               Defendants .




                                 O R D E R



     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement . Therefore, all pretrial motions are hereby moot, and a

hearing in this case is deemed unnecessary .

           SO ORDERED, this      `   ?j day of April, 2007 .




                                                 V

                                  UNITED STATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
